                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION
                              Civil Action No: 3:17-CV-652-RJC-DSC

 SNYDER’S-LANCE, INC. and
 PRINCETON VANGUARD, LLC,

                                Plaintiffs,
                                                                   ORDER
          v.

 FRITO-LAY NORTH AMERICA, INC.,

                                Defendant.


         Upon consideration of the Parties’ Joint Motion to Admit the Record of the Trademark

Trial and Appeal Board (document #16), it is hereby ORDERED AND ADJUDGED that the

Motion is GRANTED.

         Accordingly, pursuant to 15 U.S.C. 1701(b)(3) and TTAB Manual of Procedure § 904.02,

the Trademark Trial and Appeal Board is ORDERED to release the records in Opposition No.

91195552 (including Opposition No. 91190246 consolidated therein) and Cancellation No.

92053001 to this Court.

         SO ORDERED.

                                  Signed: August 7, 2018




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